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                    UNITED STATES DISTRICT COURT
  9       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10   PENINSULA PETROLEUM FAR                    Case No. 2:22-cv-898
 11   EAST PTE LTD.,
 12             Plaintiff,                       IN ADMIRALTY
 13
         vs.
 14
                                                 [PROPOSED] ORDER
 15   CRYSTAL CRUISES, LLC                       AUTHORIZING ISSUANCE OF
      STAR CRUISES (HK) LIMITED,                 PROCESS OF MARITIME
 16
                                                 ATTACHMENT AND
 17             Defendant,                       GARNISHMENT
 18
         and
 19
      MUFG UNION BANK, NATIONAL
 20
      ASSOCIATION,
 21
               Garnishee
 22

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 24
         The Court, having reviewed Plaintiff Peninsula Petroleum Far East Pte. Ltd.’s
 25
      Ex Parte Application for Issuance of Process of Maritime Attachment and
 26
      Garnishment, together with the Verified Complaint and the attorney declaration
 27
      averring that Defendants Crystal Cruises, LLC and Star Cruises (HK) Limited
 28
      [Proposed] Order Authorizing Issuance of Process
      Of Maritime Attachment and Garnishment                                    Page 1
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  1   cannot be found in the Central District of California, and finding that the
  2   conditions of Supplemental Rule B for Certain Admiralty and Maritime Claims
  3   of the Federal Rules of Procedure (“Rule B”) appear to exist, hereby:
  4      ORDERS that the Clerk of this Court issue Process of Maritime Attachment
  5   and Garnishment, pursuant to Rule B, for all assets, cash, funds, credits, wire
  6   transfers, accounts, letters of credit, electronic fund transfers, freights, sub-
  7   freights, charter hire, sub-charter hire, or any other tangible and/or intangible
  8   assets belonging to, due, claimed by, being held for or on behalf of, or being
  9   transferred for the benefit of Defendants Crystal Cruises, LLC and Star Cruises
 10   (HK) Limited, including, but not limited to any such assets as may be in the
 11   possession, custody or control of, or being transferred through any garnishee
 12   within this District, and said Order being equally applicable with respect to the
 13   issuance and service of additional writs of maritime attachment and garnishment
 14   upon any garnishees in this District not named herein, pursuant to Rule B of the
 15   Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal
 16   Rules of Civil Procedure;
 17      ORDERS that any person claiming an interest in the property attached or
 18   garnished pursuant to said Order shall, upon application to the Court, be entitled
 19   to a prompt hearing at which Plaintiff shall be required to show why the
 20   garnishment or attachment should not be vacated or other relief granted;
 21      ORDERS that any property attached or garnished pursuant to this Order may
 22   be released from seizure without further order of the Court, as long as the
 23   garnishee receives written authorization for the release from the attorney who
 24   requested the attachment and garnishment, which written authorization shall state
 25   that all parties in the Action have conferred through their counsel and consent to
 26   the request for release, and provided that the Court has not entered an order
 27   modifying the procedure for release of property attached pursuant to this Order;
 28      ORDERS, that the Clerk may issue supplemental or further writs of maritime
      [Proposed] Order Authorizing Issuance of Process
      Of Maritime Attachment and Garnishment                                      Page 2
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  1   attachment and garnishment upon request by Plaintiff and without further order
  2   of the Court;
  3      ORDERS that following initial service of a writ of maritime attachment and
  4   garnishment on any Garnishee, supplemental service of maritime attachment and
  5   garnishment writs on that Garnishee and related papers may be made by way of
  6   facsimile transmission or email to each such Garnishee;
  7      ORDERS that service on any Garnishee as described above is deemed
  8   continuous throughout the day from the time of such service through the opening
  9   of the Garnishee’s business the next business day;
 10      ORDERS that pursuant to Federal Rule of Civil Procedure 5(b)(2)(D), each
 11   Garnishee may consent, in writing, to accept service by any other means;
 12      ORDERS that a copy of this Order be served with each said writ of maritime
 13   attachment and garnishment; and,
 14      ORDERS that to afford an opportunity for an expeditious hearing of any
 15   objections which might be raised by Defendants, or any Garnishee, a hearing
 16   may be set by calling the case manager of the undersigned.
 17      IT IS SO ORDERED.
 18   Date: February ___ , 2022.
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                                           United States District Court Judge
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      [Proposed] Order Authorizing Issuance of Process
      Of Maritime Attachment and Garnishment                                     Page 3
